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                                                                         November 14 2024

  Case 2:21 ~cv-05400-GRB-LGD
  Barahona et. al. v. Paradise Tree Service & Landscape, Corp. et. al.

  Dear Honorable Judge Gary R. Brown,

  I am writing to inform you of my availability for the trial in 2025. I am available from May
  12 to May 16, 2025. Any time during these dates would be suitable for me. Please let
  me know if this timeframe alighs with the court's 5chedule.




  Sincerely,        /J//~,v,./ / l / / ~
  William Nieto    'ltf{.tf{}V//l 1/t/,.__




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                                                          U.S. DISTRICT COURT E.D.N.Y.

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